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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                           PANAMA CITY DIVISION



UNITED STATES OF AMERICA,

v.                                                       CASE NO. 5:11-cr-23-RS-GRJ

FRANK EBEN GULLETT, JR.,

_____________________________/


                         REPORT AND RECOMMENDATION

       Defendant filed a motion to vacate pursuant to 28 U.S.C § 2255 on February 28,

2012. Doc. 496. On March 5, 2012, the Court ordered Defendant to file an amended

motion on or before April 6, 2011. Defendant was warned that failure to comply would

result in a recommendation that his pending motion to vacate be denied. Doc. 497.

Defendant did not file an amended motion. On April 11, 2012, the Court ordered

Defendant to show cause on or before April 25, 2012, as to why his motion to vacate

should not be denied for failure to comply with an Order of the Court. Defendant was

warned that if he failed to respond, any subsequently-filed motion to vacate may be

barred by the one-year limitations period. See 28 U.S.C § 2255(f). Doc. 514. As of

the date of this Order, Defendant has neither responded to the show cause order nor

filed an amended motion to vacate.1

       Accordingly, it is respectfully RECOMMENDED that the pending motion to



       1
          On April 12, 2012, the Clerk docketed a letter from Defendant addressed to the
district judge, seeking relief from his sentence. This letter is dated March 31, 2012,
prior to issuance of the show cause order, and therefore is not construed as a response
to the show cause order. Doc. 515.
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vacate, Doc. 496, be denied without prejudice for failure to comply with an order of the

court, and that the accompanying civil case be closed.

        IN CHAMBERS this 30th day of April 2012.



                                                    s/Gary R. Jones
                                                   GARY R. JONES
                                                   United States Magistrate Judge




                                          NOTICE TO THE PARTIES

         A party may file specific, written objections to the proposed findings and recommendations within
14 days after being served with a copy of this report and recommendation. A party may respond to another
party’s objections within 14 days after being served with a copy thereof. Failure to file specific objections
limits the scope of review of proposed factual findings and recommendations.




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